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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


DANA VIVAS,

               On behalf of T.F.V.,                    Case No. 2:20-cv-5343


                Plaintiff,                             Chief Judge Algenon L. Marbley

       v.                                              Magistrate Judge Kimberly A. Jolson

COMMISSIONER OF SOCIAL
SECURITY,

                Defendant.




                     ORDER ON REPORT AND RECOMMENDATION


       On October 8, 2021, the United States Magistrate Judge issued a Report and

Recommendation (ECF No. 18) that the Court overrule Plaintiffs Statement of Errors and affinn

the Commissioner's decision. The Report and Recommendation informed the parties of their right

to object within fourteen days. It also specifically advised the parties of the rights they would waive

by failing to object, including the right to de novo review by the District Judge. (Id. at 12-13). No

objections have been filed, and the deadline lapsed on October 22, 2021.

       Accordingly, the Court ADOPTS the Magistrate Judge's Report and Recommendation.

Plaintiffs Statement of Errors is OVERRULED, and the Commissioners decision is

AFFIRMED.


        IT IS SO ORDERED.



                                                       ALGENOiyL. MARfrLEY
                                                       UNiTEDvSTATES DISTRICT JUDGE


DATED: November X>, 2021
